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 1                          IN THE UNITED STATES DISTRICT COURT
 2                        FOR THE NORTHERN DISTRICT OF CALIFORNIA

 3   IN RE: SOCIAL MEDIA ADOLESCENT           )
     ADDICTION/PERSONAL INJURY                )               MDL No. 3047
 4   PRODUCTS LIABILITY LITIGATION            )
                                              )               Case No. 4:22-md-03047-YGR
 5
                                              )
 6   ALL ACTION S                             )               NOTICE OF PRIORITY CLAIMS
                                              )
 7                                            )               Judge Yvonne Gonzalez Rogers
                                              )
 8                                            )
                                              )
 9
                                              )
10   _________________________________________)

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12          PLEASE TAKE NOTICE THAT, in accordance with Your Honor’s case management
13   directives, Plaintiffs hereby identify their priority claims for dispositive motion practice.
14

15                                           BACKGROUND
16          At two case management conferences, Your Honor instructed Plaintiffs to create a
17   Master Complaint and to identify on the docket their five or six strongest claims for purposes
18   of initial dispositive motion practice. Hr’g Tr. 117:10-23 (Nov. 9, 2022); see also CMC Hr’g
19   Tr. 117:10-23 (Dec. 14, 2022).
20                                         PRIORITY CLAIMS
21          In conformity with the Court’s instructions, Plaintiffs respectfully identify, in the order
22   in which they appear in the Master Complaint, five claims:
23
            1.   Strict Liability Design [Count 1] – New York
24
            2.   Strict Liability Failure to Warn [Count 2] – New York
25          3.   Negligent Design [Count 3] – Georgia
            4.   Negligent Failure to Warn [Count 4] – Georgia
26          5.   Negligence Per Se [Count 10] – Oregon

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28   Dated: February 14, 2023                       Respectfully submitted,
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 1     /s/ Christopher A. Seeger         /s/ Lexi J. Hazam
       CHRISTOPHER A. SEEGER             LEXI J. HAZAM
 2     SEEGER WEISS, LLP                 LIEFF CABRASER HEIMANN &
       55 Challenger Road, 6th Floor     BERNSTEIN, LLP
 3     Ridgefield Park, NJ 07660         275 Battery Street, 29th Floor
 4     Telephone: 973-639-9100           San Francisco, CA 94111-3339
       Facsimile: 973-679-8656           Telephone: 415-956-1000
 5     cseeger@seegerweiss.com           lhazam@lchb.com

 6     /s/ Previn Warren
       PREVIN WARREN
 7
       MOTLEY RICE LLC
 8     401 9th Street NW Suite 630
       Washington DC 20004
 9     T: 202-386-9610
       pwarren@motleyrice.com            Plaintiffs’ Co-Lead Counsel
10

11
       MICHAEL M. WEINKOWITZ             JOSEPH G. VANZANDT
12
       LEVIN SEDRAN & BERMAN, LLP        BEASLEY ALLEN CROW METHVIN
13     510 Walnut Street, Suite 500      PORTIS & MILES, P.C.
       Philadelphia, PA 19106            234 Commerce Street
14     Telephone: 215-592-1500           Montgomery, AL 36103
       mweinkowitz@lfsbalw.com           Telephone: 334-269-2343
15                                       joseph.vanzandt@beasleyallen
       EMILY C. JEFFCOTT
16
       MORGAN & MORGAN                   JAYNE CONROY
17     220 W. Garden Street, 9th Floor   SIMMONS HANLY CONROY, LLC
       Pensacola, FL 32502               112 Madison Ave, 7th Floor
18     Telephone: 850-316-9100           New York, NY 10016
       ejeffcott@forthepeople.com        Telephone: 917-882-5522
19                                       jconroy@simmonsfirm.com
       ANDRE MURA
20
       GIBBS LAW GROUP, LLP              ALEXANDRA WALSH
21     1111 Broadway, Suite 2100         WALSH LAW
       Oakland, CA 94607                 1050 Connecticut Ave, NW, Suite 500
22     Telephone: 510-350-9717           Washington D.C. 20036
       amm@classlawgroup.com             T: 202-780-3014
23                                       awalsh@alexwalshlaw.com
24     MATTHEW BERGMAN
       SOCIAL MEDIA VICTIMS LAW
25     CENTER
       821 Second Avenue, Suite 2100
26     Seattle, WA 98104
       Telephone: 206-741-4862
27     matt@socialmediavictims.org       Plaintiffs’ Leadership Committee
28
     Case 4:22-md-03047-YGR Document 131 Filed 02/14/23 Page 3 of 3




 1     RON AUSTIN                           PAIGE BOLDT
 2     RON AUSTIN LAW                       WATTS GUERRA LLP
       400 Manhattan Blvd.                  4 Dominion Drive, Bldg. 3, Suite 100
 3     Harvey LA, 70058                     San Antonio, TX 78257
       Telephone: (504) 227–8100            T: 210-448-0500
 4     raustin@ronaustinlaw.com             PBoldt@WattsGuerra.com
 5
       JAMES J. BILSBORROW                  SIN-TING MARY LIU
 6     WEITZ & LUXENBERG, PC                AYLSTOCK WITKIN KREIS &
       700 BROADWAY                         OVERHOLTZ, PLLC
 7     NEW YORK, NY 10003                   17 East Main Street, Suite 200
       Telephone: 212-558-5500              Pensacola, Fl 32502
 8     jbilsborrow@weitzlux.com             Telephone: 510-698-9566
                                            mliu@awkolaw.com
 9
       CARRIE GOLDBERG
10     C.A. GOLDBERG, PLLC                  ROLAND TELLIS
       16 Court St.                         BARON & BUDD, P.C.
11     Brooklyn, NY 11241                   15910 Ventura Boulevard, Suite 1600
       T: (646) 666-8908                    Encino, CA 91436
12     carrie@cagoldberglaw.com             Telephone: (818) 839-2333
                                            rtellis@baronbudd.com
13
       EMMIE PAULOS
14     LEVIN PAPANTONIO                     HILLARY NAPPI
       RAFFERTY                             HACH & ROSE LLP
15     316 South Baylen Street, Suite 600   112 Madison Avenue, 10th Floor
       Pensacola, FL 32502                  New York, New York 10016
16     Telephone: 850-435-7107              Tel: 212.213.8311
17     epaulos@levinlaw.com                 hnappi@hrsclaw.com

18     DIANDRA “FU” DEBROSSE                JAMES MARSH
       ZIMMERMANN                           MARSH LAW FIRM PLLC
19     DICELLO LEVITT                       31 Hudson Yards, 11th Floor
       505 20th St North, Suite 1500        New York, NY 10001-2170
20     Birmingham, Alabama 35203            Telephone: 212-372-3030
21     Telephone: 205.855.5700              jamesmarsh@marshlaw.com
       fu@dicellolevitt.com
22
       RUTH RIZKALLA
23     CARLSON LAW FIRM
       100 E. Central Texas Expy
24     Killeen, TX 76541
25     (254) 526-5688
       RRizkalla@carlsonattorneys.com       Plaintiffs’ Steering Committee
26
27

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